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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ANTI-AGE TECHNOLOGIES, LLC                 )
                                           )
                                           )
      Plaintiff,                           )                    Case No. 19-cv-2581
                                           )
      v.                                   )                      Judge Manish S. Shah
                                           )
                                           )                   Magistrate Judge Sunil R. Harjani
                                           )
THE PARTNERSHIPS AND                       )
UNINCORPORATED                             )
ASSOCIATIONS IDENTIFIED ON                 )
SCHEDULE “A”                               )
                                           )
                  Defendants.              )
_________________________________________ )

     NOTICE OF MOTION FOR SANCTION OF DISMISSAL WITH PREJUDICE


NOTICE OF MOTION TO: See attached list PLEASE TAKE NOTICE that on July 30, 2019, at 9:45
a.m., I will appear before the Honorable Manish S. Shah, or any judge sitting in that judge’s place, in
courtroom 1919 in the Dirksen United States Courthouse, 219 South Dearborn Street, Chicago, Illinois,
and present the motion of Defendants 198, 257, 395 For Sanction of Dismissal with Prejudice, a copy of
which is attached.

                By: /s/ Amy Elizabeth Paluch Epton
               Amy Elizabeth Paluch Epton
               Defendants Does’ 198,
               257, 395 Attorney
               438 E. 49th Street
               Chicago Illinois 60615
               (312) 823-4320
               amy@epton.org
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                        CERTIFICATE OF SERVICE

                I, Amy Elizabeth Paluch Epton, certify under penalty of perjury under the laws of the
       United States of America that I served a copy of this notice and the attached motion on each
       entity shown on the attached list at the address shown and by the method indicated on the list on
       July 13, 2019 before 5:00 p.m.

               Via electronic service:

David Lee Gulbransen, Jr.                       Dustin S. Fisher
Law Offices of David Gulbransen                 Judge, James, Hoban & Fisher
805 Lake Street, Ste. 172                       422 North Northwest Highway,
Oak Park Illinois 60301                         Ste. 200
                                                Park Ridge, IL 60068



                                By: /s/ Amy Elizabeth Paluch Epton


               Amy Elizabeth Paluch Epton
               Defendants Does’ 198,
               257, 395 Attorney
               438 E. 49th Street
               Chicago Illinois 60615 (312)
               823-4320 amy@epton.org
